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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

  DOE et al,                                                    )
  Plaintiff,                                                    )
                                                                ) No. 3:22-CV-00049
  v.                                                            )
                                                                )
  MAST et al,                                                   )
  Defendant.                                                    )
                                                                )

           MOTION FOR PRO HAC VICE ADMISSION OF BLAIR CONNELLY

        I, Maya M. Eckstein, as an attorney admitted to practice in this Court and as counsel of

 record in the instant proceeding, hereby move this Court pursuant to United States District

 Court for the Western District of Virginia Local Rule 6(d) for an Order granting Blair Connelly

 of Latham & Watkins LLP leave to appear pro hac vice for the purpose of appearing as counsel

 on behalf of Plaintiffs in this case. Mr. Connelly is an active member in good standing and

 currently eligible to practice law in the State of New York (NY Bar No. 2979441), and in the

 State of California (CA Bar No. 174460). In support of this motion, Mr. Connelly’s declaration

 is attached hereto as Exhibit A.

        WHEREFORE, the undersigned counsel respectfully requests that the Court enter an

 Order granting Blair Connelly leave to appear pro hac vice in this case.

 Respectfully submitted,

 November 15, 2022                                    /s/ Maya Eckstein_
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